                                                                     Clerk’s Office
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                                                                     Filed Date:

                                                                                   5/28/2021
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                                                                                  U.S. DISTRICT COURT
                                                                                  EASTERN DISTRICT OF NEW YORK
                                                                                  BROOKLYN OFFICE




       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK_____
       Percy, et al.,
                                               Plaintiffs,         JUDGMENT
                                                                 20-cv-6131 (NGG)
                        -against-                             20-cv-6291 (NGG) (SJB)
       Oriska General Contracting, et al.,                    21-cv-1366 (NGG) (SJB)
                                                                 21-cv-1421 (NGG)
                                             Defendants.
                                                             21-cv-1999 (NGG) (RLM)
       Hodge, et al.,
                                                              21-cv-2006 (NGG) (SJB)
                                               Plaintiffs,    21-cv-2009 (NGG) (SJB)
                        -against-                             21-cv-2010 (NGG) (SJB)
                                                              21-cv-2021 (NGG) (SJB)
       All American School Bus Corp., et al.,                21-cv-2022 (NGG) (ARL)
                                             Defendants.      21-cv-2024 (NGG) (SJB)
       Hodge, et al.,                                         21-cv-2025 (NGG) (SJB)
                                                              21-cv-2029 (NGG) (SJB)
                                               Plaintiffs,   21-cv-2030 (NGG) (AYS)
                        -against-                             21-cv-2031 (NGG) (SJB)
                                                              21-cv-2034 (NGG) (SJB)
       Cuomo, et al.,                                         21-cv-2035 (NGG) (SJB)
                                             Defendants.     21-cv-2039 (NGG) (RML)
       Oriska Corporation,                                    21-cv-2040 (NGG) (SJB)
                                                             21-cv-2045 (NGG) (VMS)
                                                Plaintiff,    21-cv-2050 (NGG) (SJB)
                        -against-                             21-cv-2175 (NGG) (SJB)
                                                              21-cv-2182 (NGG) (SJB)
       Hodge, et al.,                                         21-cv-2194 (NGG) (SJB)
                                             Defendants.      21-cv-2198 (NGG) (SJB)
       Oriska Corporation,                                    21-cv-2283 (NGG) (SJB)
                                                              21-cv-2311 (NGG) (SJB)
                                                Plaintiff,
                                                             21-cv-2313 (NGG) (RLM)
                        -against-                             21-cv-2314 (NGG) (SJB)
       Willoughby Rehabilitation and Health Care
       Center, LLC, et al.,
                                             Defendants.
       Oriska Corporation,
                                                Plaintiff,




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                        -against-
       Bayview Manor LLC, South Point Plaza, et
       al.,
                                           Defendants.

       Oriska Corporation,
                                              Plaintiff,
                        -against-
       Nassau Operating Co., LLC, et al.,
                                           Defendants.
       Oriska Corporation,
                                              Plaintiff,
                        -against-
       Garden Care Center, Inc., et al.,
                                           Defendants.
       Oriska Corporation,
                                              Plaintiff,
                        -against-
       Park Avenue Operating Co. LLC, et al.,
                                           Defendants.
       Oriska Corporation,
                                              Plaintiff,
                        -against-
       Parkview Care & Rehabilitation Center, et al.,
                                           Defendants.
       Oriska Corporation,
                                              Plaintiff,
                        -against-
       Pinegrove Manor II, LLC,-Grace Plaza, et al.,




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                                         Defendants.
       Oriska Corporation,
                                               Plaintiff,
                       -against-
       Townhouse Operating Co., LLC-Townhouse
       Center for Nursing, et al.,
                                         Defendants.
       Oriska Corporation,
                                               Plaintiff,
                       -against-
       Woodmere Rehabilitation and Health Care
       Center, Inc., et al.,
                                         Defendants.
        Oriska Corporation,
                                               Plaintiff,
                       -against-
       Brookhaven Rehabilitation and Health Care
       Center, LLC, et al.,
                                         Defendants.
       Oriska Corporation,
                                               Plaintiff,
                       -against-
       Little Neck Care Center, LLC, et al.,
                                         Defendants.
       Oriska Corporation,
                                               Plaintiff,
                       -against-
       New Surfside Nursing Home, LLC-Caring
       Family Nursing & Rehab, et al.,
                                         Defendants.




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       Oriska Corporation,
                                                Plaintiff,
                        -against-
       West Lawrence Care Center, LLC, et al.,
                                            Defendants.
       Oriska Corporation,
                                                Plaintiff,
                        -against-
       Avalon Gardens Rehabilitation & Health Care
       Center, LLC, et al.,
                                            Defendants.
       Oriska Corporation,
                                                Plaintiff,
                        -against-
       Golden Gate Rehabilitation and Health Care
       Center LLC, et al.,
                                            Defendants.
       Oriska Corporation,
                                                Plaintiff,
                        -against-
       North Sea Associates, LLC-The Hamptons
       Center, et al.,
                                            Defendants.
       Percy, et al.,
                                               Plaintiffs,
                        -against-
       Children's Law Center, et al.,
                                             Defendants.
       Percy, et al.,                   Plaintiffs,
                        -against-




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       D & D Metal Work Inc., et al.,
                                        Defendants.
       Percy, et al.,
                                           Plaintiffs,
                        -against-
       F & E Maintenance Inc, et al.,
                                        Defendants.
       Percy, et al.,
                                           Plaintiffs,
                        -against-
       I Grace Co, et al.,
                                        Defendants.
       Percy, et al.,
                                           Plaintiffs,
                        -against-
       U & I Mechanical Corporation, et al.,
                                        Defendants.
       Percy, et al.,
                                           Plaintiffs,
                        -against-
       Manhattan Telecommunications Corporation,
       et al.,
                                        Defendants.
       Percy, et al.,
                                           Plaintiffs,
                        -against-
       S & E Azrlliant PC, et al.,
                                        Defendants.
       Percy, et al.,




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                                               Plaintiffs,
                        -against-
       P & H Painting Inc., et al.,
                                             Defendants.
        Bay Park Center for Nursing &
        Rehabilitation, et al.,
                                               Plaintiffs,
                        -against-
       Bent Philipson, Avi Philipson, and Deborah
       Philipson,
                                             Defendants;
       Oriska Corporation,
                               Plaintiff-in-Intervention,
                        -against-
       Bay Park Center for Nursing &
       Rehabilitation, et al.,
                          Defendants-in-Intervention;
       Donna Hodge, Annette Hall, Karen Grant
       Williams, and Alexi Arias,
                    Class Defendants-in-Intervention;
       Bent Philipson, Avi Philipson, and Deborah
       Philipson,
             Lead Action Defendants-in-Intervention;
       Aaron Becher, et al.,
                      Owner Operator Defendants-in-
                                      Intervention;
       The Philipson Family Trust, et al.,
               Prohibited Transaction Defendants-in-
                                       Intervention;
       Andrew Cuomo, et al.,




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             State Officer Defendants-in-Intervention;
        Oriska Insurance Company,
                    Carrier Defendant-in-Intervention;
        Rashbi Management, Inc.,
                     Trust Defendants-in-Intervention.



                A Memorandum and Order of the Honorable Nicholas G. Garaufis, United States

 District Judge, having been filed on May 27, 2021, remanding the removed actions to New York

 Supreme Court, Oneida County, dismissing with prejudice each of the federal actions, and

 granting requests for attorney’s fees and costs by the Defendants in the removed actions; it is


                ORDERED and ADJUDGED that the removed actions are remanded to New

 York Supreme Court, Oneida County; the federal actions are dismissed with prejudice; requests

 for attorneys’ fees and costs by the Defendants in the removed actions are granted, and Judgment

 is entered in favor of Defendants.


 Dated: Brooklyn, New York                                     Douglas C. Palmer
        May 28, 2021                                           Clerk of Court

                                                         by:   /s/ Brenna B. Mahoney
                                                               Brenna B. Mahoney
                                                               Chief Deputy




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